                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


    KENNETH J. VEA,
                                                    Civil Action No.
                     Plaintiff,
                                                    COMPLAINT FOR VIOLATIONS
       v.                                           OF THE FEDERAL SECURITIES
                                                    LAWS


                                                    JURY TRIAL DEMANDED
   LIVONGO HEALTH, INC., GLEN
   TULLMAN, ZANE BURKE, CHRIS
   BISCHOFF, KAREN L. DANIEL,
   SANDRA FENWICK, PHILIP D.
   GREEN, and HEMANT TANEJA,


                     Defendants.



       Plaintiff Kenneth J. Vea (“Plaintiff”) by and through his undersigned attorneys, brings

this action on behalf of himself, and alleges the following based upon personal knowledge as to

those allegations concerning Plaintiff and, as to all other matters, upon the investigation of

counsel, which includes, without limitation: (a) review and analysis of public filings made by

Livongo Health, Inc. (“Livongo” or the “Company”) and other related parties and non-parties

with the United States Securities and Exchange Commission (“SEC”); (b) review and analysis of

press releases and other publications disseminated by certain of the Defendants (defined below)

and other related non-parties; (c) review of news articles, shareholder communications, and

postings on the Company’s website concerning the Company’s public statements; and (d) review

of other publicly available information concerning Livongo and the Defendants.
                                 SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against Livongo and the Company’s Board

of Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a)

and 20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule

14a-9, 17 C.F.R. 240.14a-9, in connection with the proposed sale of the Company to Teladoc

Health, Inc. (“Parent”) (the “Proposed Transaction”).

       2.       On August 5, 2020, the Company entered into an Agreement and Plan of Merger

(the “Merger Agreement”) with Teladoc. Pursuant to the terms of the Merger Agreement the

Company’s shareholders will receive $4.24 per share of Livongo owned, in addition to a special

cash dividend equal to $7.09 per share (the “Merger Consideration”).

       3.       On September 15, 2020, in order to convince the Company’s shareholders to vote

in favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete

and misleading proxy statement with the SEC (the “Proxy Statement”), in violation of Sections

14(a) and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Livongo and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule

14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to Livongo

shareholders before the vote on the Proposed Transaction or, in the event the Proposed

Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.




                                                  2
                                 JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.      This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                          THE PARTIES

        8.      Plaintiff is, and has been at all times relevant hereto, the owner of Livongo shares.

        9.      Defendant Livongo is incorporated under the laws of Delaware and has its

principal executive offices located at 150 West Evelyn Avenue, Suite 150, Mountain View,

California 94041. The Company’s common stock trades on the NASDQ Global Select Market

under the symbol “LVGO.”

        10.     Defendant Glen Tullman (“Tullman”) is and has been the Chairman of the Board

of Livongo at all times during the relevant time period.

        11.     Defendant Zane Burke (“Burke”) is and has been the Chief Executive Officer of

the Company at all times during the relevant time period.




                                                  3
       12.     Defendant Chris Bischoff (“Bischoff”) is and has been a director of Livongo at all

times during the relevant time period.

       13.     Defendant Karen L. Daniel (“Daniel”) is and has been a director of Livongo at all

times during the relevant time period.

       14.     Defendant Sandra Fenwick (“Fenwick”) is and has been a director of Livongo at

all times during the relevant time period.

       15.     Defendant Philip D. Green (“Green”) is and has been a director of Livongo at all

times during the relevant time period.

       16.     Defendant Hemant Taneja (“Taneja”) is and has been a director of Livongo at all

times during the relevant time period.

       17.     Defendants Tullman, Burke, Bischoff, Daniel, Fenwick, Green, and Taneja are

collectively referred to herein as the “Individual Defendants.”

       18.     The Individual Defendants, along with Defendant Livongo, are collectively

referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                  Background of the Company

       19.     Livongo empowers people with chronic conditions to live better and healthier

lives through the Company’s creation of a unified platform that provides smart, cellular-

connected devices, supplies, informed coaching, data science-enabled insights and facilitates

access to medications across multiple chronic conditions to help its members lead better lives.

Livongo currently offers Livongo for Diabetes, Livongo for Hypertension, Livongo for

Prediabetes and Weight Management, and Livongo for Behavioral Health by myStrength.




                                                 4
Livongo has created consumer-first experiences with high member satisfaction, measurable,

sustainable health outcomes, and more cost-effective care for its members and its clients.

                     The Company Announces the Proposed Transaction

       20.     On August 5, 2020, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:

       Purchase, NY and Mountain View, CA, August 5, 2020 — Teladoc
       Health (TDOC), the global leader in virtual care, and Livongo (LVGO), the
       leading Applied Health Signals company – today announced that they have
       entered into a definitive merger agreement. This merger represents a
       transformational opportunity to improve the delivery, access and experience
       of healthcare for consumers around the world. The highly complementary
       organizations will combine to create substantial value across the healthcare
       ecosystem, enabling clients everywhere to offer high quality, personalized,
       technology-enabled longitudinal care that improves outcomes and lowers
       costs across the full spectrum of health.

       Under the terms of the agreement, which has been unanimously approved
       by the Board of Directors of each company, each share of Livongo will be
       exchanged for 0.5920x shares of Teladoc Health plus cash consideration of
       $11.33 for each Livongo share, representing a value of $18.5 billion based
       on the closing price of Teladoc Health shares as of August 4, 2020. Upon
       completion of the merger, existing Teladoc Health shareholders will own
       approximately 58 percent and existing Livongo shareholders will own
       approximately 42 percent of the combined company.

       The combination of Teladoc Health and Livongo creates a global leader in
       consumer centered virtual care. The company will have expected 2020 pro
       forma revenue of approximately $1.3 billion, representing year over year
       pro forma growth of 85 percent. Demonstrating the power of the combined
       platform and the scalability of the data driven and virtual ethos, the
       combined company is expected to have pro forma Adjusted EBITDA of
       over $120 million for 2020.

       “This merger firmly establishes Teladoc Health at the forefront of the next-
       generation of healthcare,” said Jason Gorevic, CEO of Teladoc Health.
       “Livongo is a world-class innovator we deeply admire and has
       demonstrated success improving the lives of people living with chronic
       conditions. Together, we will further transform the healthcare experience
       from preventive care to the most complex cases, bringing ‘whole person’
       health to consumers and greater value to our clients and shareholders as a
       result.”



                                                5
    “This highly strategic combination will create the leader in consumer-
    centered virtual care and provides a unique opportunity to further accelerate
    the growth of our data-driven member platform and experience,” said Glen
    Tullman, Livongo Founder and Executive Chairman. “By expanding the
    reach of Livongo’s pioneering Applied Health Signals platform and
    building on Teladoc Health’s end-to-end virtual care platform, we’ll
    empower more people to live better and healthier lives. This transaction
    recognizes Livongo’s significant progress and will enable Livongo
    shareholders to benefit from long-term upside as the combined company is
    positioned to serve an even larger addressable market with a truly
    unmatched offering.”

    Strategic and financial benefits of the combination

•   The combination joins two highly complementary companies to create
    an unmatched, comprehensive platform for virtual healthcare
    delivery. By bringing together leaders in virtual health and chronic
    condition management, the merger combines comprehensive clinical
    expertise with a rich technology and data-driven experience; prevention and
    chronic condition management with acute and specialty care; behavior
    change expertise with data science; global footprint with products meeting
    global need; access with innovation and two of the fastest growing
    companies in health technology.

•   Combining clinical expertise with deeper, more comprehensive
    consumer health insights to deliver the highest quality care and
    improve outcomes. The transaction combines Teladoc Health’s broad
    integrated services across virtual care with Livongo’s data-driven approach
    to providing actionable, personalized, and timely health signals to create a
    comprehensive virtual healthcare delivery system. The combined
    company’s platform will feature the full range of health support – from
    AI+AI engine-driven “nudges” and health coaches to therapists and board-
    certified physicians and the world’s leading specialists – available anytime,
    anywhere to ensure the right care is always delivered.

•   Focusing on prevention as a critical lever for reimagining healthcare
    delivery. Together, Teladoc Health and Livongo will empower consumers
    to proactively manage their wellbeing with the help of a single,
    comprehensive partner across the full spectrum of health, whether they are
    at-risk of, or living with, chronic conditions or need acute care. By tapping
    into data and care anytime, anywhere, consumers will have real-time
    information and guidance to stay healthy and avoid the unchecked
    progression of illness.




                                          6
•   Joining two leaders in consumer behavior change, bringing millions
    more consumers into virtual care and building even deeper consumer
    and provider relationships. Teladoc Health’s flywheel approach to
    continued member engagement combined with Livongo’s proven track
    record of using data science to build consumer trust will accelerate the
    combined company’s development of longitudinal consumer and provider
    relationships.

•   Expanding Teladoc Health’s portfolio and footprint with Livongo’s
    leadership in addressing underpenetrated and underserved chronic
    condition populations. Teladoc Health’s global reach, including 70 million
    customers in the United States, and significant access to high growth
    segments in that market (e.g., Medicare and Medicaid) give Livongo a
    stronger platform to reach millions of new consumers, at risk of, or living
    with chronic disease.
•   Complementary cultures and operating philosophies that put a
    premium on health equity. Teladoc Health has long focused on virtual
    care as the “great equalizer” expanding access to underserved communities
    facing negative social determinants of health. With Livongo’s focus on
    chronic conditions, which disproportionately impacts underserved
    communities, the combined company will be positioned to make
    meaningful progress on addressing long-standing disparities.

•   Significant shareholder value creation and revenue acceleration
    opportunities. The combined company is positioned to execute quantified
    opportunities to drive revenue synergies of $100 million by the end of the
    second year following the close, reaching $500 million on a run rate basis
    by 2025. These opportunities include increased cross-selling and
    penetration into each company’s client base. They also include accelerating
    Livongo’s international expansion through Teladoc Health’s existing
    footprint, improving combined company member retention rates and driving
    more efficient enrollment. In addition to the quantified synergies, the
    combination offers significant unquantified synergies by enabling new care
    models and next generation solution opportunities. As a result of
    efficiencies, the combined company is expected to achieve cost synergies of
    $60 million by the end of the second year following the close, which can be
    reinvested to drive topline growth and margin expansion.

    Leadership & Governance

    Jason Gorevic, current CEO of Teladoc Health, will be the CEO of the
    combined company. Led by Teladoc Health chairman, David Snow, the
    newly combined Teladoc Health Board of Directors will be composed of
    eight members of the Teladoc Health Board and five members of the
    Livongo Board.




                                         7
       Additional Transaction Details

       The transaction is expected to close by the end of Q4 2020, subject to
       regulatory and Teladoc Health and Livongo shareholder approvals and
       other customary closing conditions. The newly combined company will be
       called Teladoc Health and will be headquartered in Purchase, New York.

       Advisors

       Lazard served as exclusive financial advisor to Teladoc Health and Paul,
       Weiss, Rifkind, Wharton & Garrison LLP served as legal advisor.

       Morgan Stanley served as exclusive financial advisor to Livongo and
       Skadden, Arps, Slate, Meagher & Flom LLP served as legal advisor.

                     FALSE AND MISLEADING STATEMENTS
             AND/OR MATERIAL OMISSIONS IN THE PROXY STATEMENT

       21.     On September 15, 2020, the Company authorized the filing of the Proxy

Statement with the SEC. The Proxy Statement recommends that the Company’s shareholders

vote in favor of the Proposed Transaction.

       22.     Defendants were obligated to carefully review the Proxy Statement prior to its

filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions.          However, the Proxy Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                 Material False and Misleading Statements or Material
     Misrepresentations or Omissions Regarding the Company’s Financial Projections

       23.     The Proxy Statement contains projections prepared by the Company’s and

Teledoc’s management concerning the Proposed Transaction, but fails to provide material

information concerning such.




                                                8
        24.   The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such

projections.1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new

and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy.2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

        25.   In order to make management’s projections included in the Proxy Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.

        26.   Specifically, with respect to the Company’s projections, the Company must

disclose the line item projections for the financial metrics that were used to calculate the non-

GAAP measures, including: (i) Revenue; (ii) Adjusted EBITDA; and (iii) Unlevered Free Cash

Flow.

        27.   With respect to Teledoc’s projections, the Company must disclose the line item

projections for the financial metrics that were used to calculate the non-GAAP measures,

including: (i) Revenue, (ii) Adjusted EBITA: and (iii) Unlevered Free Cash Flow.



1
   See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.
2
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


                                                9
       28.      Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.    Specifically, the above information would provide shareholders with a better

understanding of the analyses performed by the Company’s financial advisor in support of its

opinion.

                     Material False and Misleading Statements or Material
           Misrepresentations or Omissions Regarding Morgan Stanley’s Financial Opinion

       29.      The Proxy Statement contains the financial analyses and opinion of Morgan

Stanley concerning the Proposed Transaction, but fails to provide material information

concerning such.

       30.      With respect to Morgan Stanley’s Livongo Discounted Cash Flow Analysis, the

Proxy Statement fails to disclose: (i) all unlevered free cash flows used and all underlying line

items; (ii) the Livongo street case estimates used in the analysis; (iii) the terminal values for

Livongo; (iv) the inputs and assumptions underlying Morgan Stanley’s use of discount rates

ranging from 8.3% to 10.2%; and (v) the inputs and assumptions underlying Morgan Stanley’s

use of the perpetual growth rates of 2.5% to 3.5%.

       31.      With respect to Morgan Stanley’s Teladoc Discounted Cash Flow Analysis, the

Proxy Statement fails to disclose: (i) estimates for net operating loss and tax credit

carryforwards; (ii) the implied terminal values resulting from the analysis; (iii) the inputs and

assumptions underlying Morgan Stanley’s use of the discount rate range of 7.3% to 8.2%; and

(iv) Teladoc’s net debt.

       32.      With respect to Morgan Stanley’s Livongo Discounted Equity Value Analysis and

Teladoc Discounted Equity Value Analysis, the Proxy Statement fails to disclose the inputs and




                                                10
assumptions underlying Morgan Stanley’s use of the discount rates of 9.4% and 7.5%,

respectively.

        33.     With respect to Morgan Stanley’s Analyst Price Targets analysis, the Proxy

Statement fails to disclose the individual price targets for Livongo and Teladoc and the sources

thereof.

        34.     The Proxy Statement notes that “Livongo may, in its sole discretion, also pay

Morgan Stanley an additional discretionary fee of up to approximately $11 million contingent

upon, and subject to, the consummation of the merger.” However, the Proxy Statement fails to

disclose the agreed parameters for such additional discretionary fee, the criteria Morgan Stanley

needs to satisfy to receive the additional fee, and whether the Company anticipates paying

Morgan Stanley the additional fee.

        35.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to

better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

        36.     Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.




                                                11
                                              COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          37.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          38.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          39.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

          40.   Defendants have issued the Proxy Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement, which fails to provide critical information

regarding, among other things, the financial projections for the Company.

          41.   In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue



                                                     12
of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such information

to shareholders although they could have done so without extraordinary effort.

       42.     The Defendants knew or were negligent in not knowing that the Proxy Statement

is materially misleading and omits material facts that are necessary to render it not misleading.

The Defendants undoubtedly reviewed and relied upon the omitted information identified above

in connection with their decision to approve and recommend the Proposed Transaction.

       43.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Proxy Statement, rendering the sections

of the Proxy Statement identified above to be materially incomplete and misleading. Indeed, the

Defendants were required to be particularly attentive to the procedures followed in preparing the

Proxy Statement and review it carefully before it was disseminated, to corroborate that there are

no material misstatements or omissions.

       44.     The Defendants were, at the very least, negligent in preparing and reviewing the

Proxy Statement. The preparation of a Proxy Statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Defendants were negligent in choosing to omit material information from the Proxy Statement or

failing to notice the material omissions in the Proxy Statement upon reviewing it, which they

were required to do carefully as the Company’s directors. Indeed, the Defendants were

intricately involved in the process leading up to the signing of the Merger Agreement and the

preparation of the Company’s financial projections.




                                               13
          45.   The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

          46.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          47.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          48.   The Individual Defendants acted as controlling persons of Livongo within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Livongo, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

          49.   Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          50.   In particular, each of the Individual Defendants had direct and supervisory



                                                  14
involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       51.     In addition, as set forth in the Proxy Statement sets forth at length and described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Proxy Statement purports to describe the various issues and information

that the Individual Defendants reviewed and considered. The Individual Defendants participated

in drafting and/or gave their input on the content of those descriptions.

       52.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       53.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       54.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:




                                                 15
       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the Proxy

Statement that does not contain any untrue statements of material fact and that states all material

facts required in it or necessary to make the statements contained therein not misleading;

       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: October 2, 2020                                         Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
                                                               Joshua M. Lifshitz
                                                               Email: jml@jlclasslaw.com
                                                               LIFSHITZ LAW FIRM, P.C.
                                                               821 Franklin Avenue, Suite 209
                                                               Garden City, New York 11530
                                                               Telephone: (516) 493-9780
                                                               Facsimile: (516) 280-7376

                                                               Attorneys for Plaintiff




                                                 16
